          Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 1 of 40 Page ID #:1


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                       Class
               12
                                         UNITED STATES DISTRICT COURT
               13
                                           CENTRAL DISTRICT OF CALIFORNIA
               14
                       RIVAS SPORTS, INC., a California         CASE NO. 2:20-cv-08312
               15      corporation, on behalf of itself and all
                       others similarly situated; DAISY         CLASS ACTION COMPLAINT
               16      RIVAS, an individual; SIMON
                       MANAGEMENT ASSOCIATES II,
               17      LLC, a Delaware limited liability
                       company; and DEL AMO FASHION
               18      CENTER OPERATING COMPANY,
                       L.L.C., a Delaware limited liability
               19      company,
                                        Plaintiffs,
               20
                              v.
               21      COUNTY OF LOS ANGELES;
                       COUNTY OF LOS ANGELES
               22      BOARD OF SUPERVISORS; DR.
                       MUNTU DAVIS, individually and in
               23      his official capacity as County of Los
                       Angeles Health Officer;
               24      DR. BARBARA FERRER, in her
                       official capacity as Director, County of
               25      Los Angeles Department of Public
                       Health; and ALEX VILLANUEVA, in
               26      his official capacity as Sheriff, County
                       of Los Angeles,
               27
                                     Defendants.
               28


ATTORNEYS AT LAW
  LOS AN GE LES
                                                                         CLASS ACTION COMPLAINT
          Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 2 of 40 Page ID #:2


                   1         Plaintiffs Rivas Sports, Inc. (“Rivas Sports”), on behalf of itself and all others
                   2   similarly situated; Daisy Rivas (“Ms. Rivas”); Simon Management Associates II,
                   3   LLC (“Simon”); and Del Amo Fashion Center Operating Company, L.L.C.
                   4   (“DAFC”) (collectively, “Plaintiffs”) allege as follows against Defendants County
                   5   of Los Angeles (the “County”); County of Los Angeles Board of Supervisors (the
                   6   “Board”); Dr. Muntu Davis, individually and in his official capacity as County of
                   7   Los Angeles Health Officer (“Dr. Davis”); Dr. Barbara Ferrer, in her official
                   8   capacity as Director, County of Los Angeles Department of Public Health; and Alex
                   9   Villanueva, in his official capacity as Sheriff, County of Los Angeles (collectively,
               10      “Defendants”):
               11                               PRELIMINARY STATEMENT
               12            1.     The County of Los Angeles Health Officer issued an order forcing
               13      indoor malls and their interior retailers to remain closed while other retailers may
               14      open—even though there is no basis in science, public health policy, or good sense
               15      for this patently discriminatory treatment.      This blatantly unconstitutional act
               16      prevents interior mall stores from operating, crushing their businesses, denying their
               17      employees of their livelihoods, and laying waste to their businesses. Plaintiffs—a
               18      retailer at the Del Amo Fashion Center in the County, Rivas Sports; its owner and
               19      employee, Ms. Rivas; and Del Amo’s manager and owner—bring this action to end
               20      the unlawful and unconstitutional closing of indoor malls and shopping centers, an
               21      action taken under color of emergency powers but without any valid legal basis.
               22      Rivas Sports further brings this action on behalf of the hundreds of similarly situated
               23      retailers at Del Amo that have been forced to close and face the potential imminent
               24      collapse of their businesses without immediate relief.
               25            2.     During the COVID-19 pandemic, Plaintiffs have responded quickly
               26      and decisively to protect the health of employees and customers. For example, Rivas
               27      Sports and its owner, Ms. Rivas, took extensive precautions, above and beyond State
               28      and local requirements, to reduce the risk of COVID-19 transmission among

ATTORNEYS AT LAW
  LOS AN GE LES                                                   2                    CLASS ACTION COMPLAINT
          Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 3 of 40 Page ID #:3


                   1   employees and customers at Rivas Sports’ Pro Image Sports stores, while continuing
                   2   to sell officially licensed sports merchandise at six locations in indoor malls
                   3   throughout the County.
                   4         3.     Early on, the pandemic resulted in the ordered closure of businesses on
                   5   an unprecedented scale, as federal, state, and local governments worked together to
                   6   minimize the spread of the disease and maintain public safety. In the past six
                   7   months, much has been learned about how the disease spreads, and how that spread
                   8   can be minimized or prevented. On August 28, 2020, after extensive review of the
                   9   relevant data and science, the California Department of Public Health issued a
               10      statewide order allowing counties throughout the State to reopen indoor malls and
               11      shopping centers subject to health and safety restrictions, including 25% maximum
               12      capacity, closed common areas, and closed food courts in California counties where
               13      COVID-19 is “widespread.”1 The State’s action was consistent with those of state
               14      and local governments nationwide. And today, California’s measured, evidence-
               15      based approach is already being implemented in nearly every county, including with
               16      the reopening of indoor malls and shopping centers in neighboring Orange and San
               17      Bernardino Counties just days after the August 28 order.
               18            4.     To Plaintiffs’ knowledge, only one county has refused to follow the
               19      State’s science-based approach. On September 2, 2020, Dr. Davis, the County of
               20      Los Angeles Health Officer, ordered that, in this County—alone among counties in
               21      this State—all indoor portions and operations of indoor malls and shopping centers
               22      must “remain closed to the public until further notice.”2 This stands in stark contrast
               23
                       1
                         See Exhibit 1, California Department of Public Health, Statewide Public Health
               24      Officer Order (Aug. 28, 2020), available at https://www.cdph.ca.gov/Programs/
                       CID/DCDC/CDPH%20Document%20Library/COVID-19/8-28-20_Order-Plan-
               25      Reducing-COVID19-Adjusting-Permitted-Sectors-Signed.pdf.
               26
                       2
                         See County of Los Angeles Department of Public Health, Order of the Health
                       Officer, Reopening Safer at Work and in the Community for Control of COVID-19
               27
                       (revised Sept. 2, 2020), available at http://publichealth.lacounty.gov/media/
                       coronavirus/docs/HOO/2020_09_02_HOO_Safer_at_Home.pdf. The most recent
               28
                       County Order of the Health Officer was issued on September 4 with minor
                       changes, and no changes to the County’s restrictions on indoor malls and shopping

ATTORNEYS AT LAW
  LOS AN GE LES                                                   3                    CLASS ACTION COMPLAINT
          Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 4 of 40 Page ID #:4


                   1   to the County’s treatment of virtually every other retail establishment, including
                   2   large and small scale retailers and even salons and barbershops—all of which were
                   3   permitted to reopen immediately and operate at a minimum at 25% capacity (in
                   4   accordance with statewide guidelines).
                   5         5.     There is absolutely no data to support the differential treatment between
                   6   indoor malls and the other large retail stores that have been open for months, nor any
                   7   data to support differentiation of “outdoor” malls (which are allowed to open), and
                   8   neither the County nor any other Defendant has offered a data-based explanation—
                   9   or any reason whatsoever—for this differential treatment. The September 2, 2020
               10      order is out of line with statewide standards, as well as standards established by state
               11      and local governments nationwide.
               12            6.     That order has resulted in the needless closure of hundreds of
               13      businesses and thrown thousands of employees out of work, devastating those
               14      businesses, their employees, and their families. Rivas Sports has been forced to
               15      close six of its eight Pro Image Sports locations, just because they are located in the
               16      interior of County malls. At the same time, Rivas Sports’ other two locations—
               17      which are inside malls in nearby San Bernardino County—have safely reopened.
               18      Because Rivas Sports has had to close 75% of its stores, and depends on foot traffic
               19      within County malls to generate business, its sales and profits have plunged. It has
               20      been forced to lay off employees, including dedicated, long-term managers that Ms.
               21      Rivas has worked with for 15 years; and it can no longer afford to pay Ms. Rivas a
               22      salary—money Ms. Rivas needs to support herself and her three children. Over two
               23      decades, Ms. Rivas and her late husband built and expanded Rivas Sports into a
               24      thriving small business, and Ms. Rivas has devoted everything to managing the
               25      business on her own for the past five years. But the forced closure of these stores
               26 centers. See Exhibit 2, County of Los Angeles Department of Public Health, Order
                  of the Health Officer, Reopening Safer at Work and in the Community for Control
               27 of COVID-19 (revised Sept. 4, 2020), available at
                  http://publichealth.lacounty.gov/media/Coronavirus /docs/HOO/
               28 2020_09_04_HOO_Safer_at_Home.pdf.


ATTORNEYS AT LAW
  LOS AN GE LES                                                    4                    CLASS ACTION COMPLAINT
          Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 5 of 40 Page ID #:5


                   1   threatens the business’s viability, and could force it to permanently shut down if the
                   2   County does not immediately lift the closure order.
                   3         7.     Because of the September 2, 2020 order, hundreds of other businesses
                   4   at Del Amo and other indoor malls and shopping centers in the County also remain
                   5   closed to the public, depriving them of badly needed revenue and thousands of
                   6   employees of gainful employment—all without any justification whatsoever or
                   7   means to challenge the government’s overreaching and arbitrary action.
                   8         8.     The County’s order has arbitrarily deprived Plaintiffs of their core
                   9   property interests and other legal rights without due process and in violation of their
               10      right to equal protection under the law. It must be struck down to prevent the
               11      substantial continuing harm being inflicted on Plaintiffs, hundreds of other
               12      businesses, and thousands of employees at indoor malls and shopping centers
               13      throughout the County.
               14                                        THE PARTIES
               15            9.     Plaintiff Rivas Sports, Inc. is a California corporation. It operates eight
               16      Pro Image Sports franchises, which sell officially licensed sports apparel, such as
               17      hats and jerseys. Rivas Sports operates one location in the Del Amo Fashion Center
               18      (“Del Amo”) in Torrance, California, in the County of Los Angeles, and holds a
               19      business license from the City of Torrance for that location. Rivas Sports also
               20      operates five other locations at indoor malls in the County of Los Angeles, and two
               21      locations at indoor malls in the County of San Bernardino. Currently, all six of Rivas
               22      Sports’ County of Los Angeles locations are closed due to Defendants’ actions.
               23            10.    Daisy Rivas is a resident of the County of Los Angeles. Ms. Rivas is
               24      an employee of, and the sole shareholder of, Rivas Sports.
               25            11.    Plaintiff Simon Management Associates II, LLC is a Delaware limited
               26      liability company with its principal place of business in Indianapolis, Indiana.
               27      Simon is a manager of commercial retail real estate throughout the United States. It
               28      manages five commercial retail properties throughout California. Simon is the

ATTORNEYS AT LAW
  LOS AN GE LES                                                   5                    CLASS ACTION COMPLAINT
          Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 6 of 40 Page ID #:6


                   1   exclusive manager of Del Amo pursuant to a contract with DAFC. As property
                   2   manager, Simon is contractually responsible for operating Del Amo, including
                   3   building maintenance and leasing, and employs the management employees for the
                   4   facility. Simon is owned by Simon Property Group, L.P. (“Simon Property”).
                   5         12.     Plaintiff Del Amo Fashion Center Operating Company, L.L.C. is a
                   6   Delaware limited liability company with its principal place of business in
                   7   Indianapolis, Indiana. DAFC owns the Del Amo Fashion Center in Torrance,
                   8   California.
                   9         13.     Defendant County of Los Angeles is a charter county organized and
               10      existing as a legal subdivision under the laws of the State of California.
               11            14.     Defendant County of Los Angeles Board of Supervisors is a five-
               12      member governing body, elected pursuant to the County of Los Angeles Charter.
               13            15.     On information and belief, Defendant Dr. Muntu Davis is a resident of
               14      the County of Los Angeles. He is a party to this action in his individual capacity
               15      and in his official capacity as County of Los Angeles Health Officer.
               16            16.     Defendant Dr. Barbara Ferrer is a party to this action in her official
               17      capacity as Director of the County of Los Angeles Department of Public Health.
               18            17.     Defendant Alex Villanueva is a party to this action in his official
               19      capacity as Sheriff of the County of Los Angeles.
               20                               JURISDICTION AND VENUE
               21            18.     The Court has subject matter jurisdiction over this action pursuant to
               22      28 U.S.C. § 1331 because the action arises under 42 U.S.C. § 1983 and the Equal
               23      Protection and Due Process Clauses of the Fourteenth Amendment to the United
               24      States Constitution.
               25            19.     Jurisdiction is also appropriate in this Court pursuant to 28 U.S.C. §
               26      1343(a)(3) “[t]o redress the deprivation, under color of any State law, statute,
               27      ordinance, regulation, custom or usage, of any right, privilege or immunity secured
               28


ATTORNEYS AT LAW
  LOS AN GE LES                                                   6                    CLASS ACTION COMPLAINT
          Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 7 of 40 Page ID #:7


                   1   by the Constitution of the United States or by any Act of Congress providing for
                   2   equal rights of citizens or of all persons within the jurisdiction of the United States.”
                   3         20.    This Court has supplemental jurisdiction over Plaintiffs’ claims
                   4   asserted under the Constitution of the State of California pursuant to 28 U.S.C. §
                   5   1367(a), because Plaintiffs’ state constitutional claims arise from the same nucleus
                   6   of operative facts as its federal claims and thus form part of the same case or
                   7   controversy under Article III of the United States Constitution.
                   8         21.    The Central District of California is the appropriate venue for this
                   9   action pursuant to 28 U.S.C. § 1391(b)(1) and (2) because it is a District in which
               10      Defendants reside, maintain offices, exercise their authority in their official
               11      capacities, and have enforced the order at issue in this case.
               12                                 GENERAL ALLEGATIONS
               13                     Plaintiffs Have Safely Operated Retail Stores Inside
               14                      Shopping Malls During The COVID-19 Pandemic
               15            22.    COVID-193 was declared a pandemic by the World Health
               16      Organization on March 11, 2020, and on March 13, President Trump declared a
               17      national emergency. In the days immediately following, state and local officials
               18      across the country began issuing “stay-at-home,” “shelter-in-place,” and similar
               19      orders requiring individuals like Ms. Rivas to literally remain in their homes with
               20      limited exceptions. During this period of great uncertainty about COVID-19 and
               21      how it spreads, many of these orders required all non-essential businesses to
               22      temporarily close in-store activities, and some initially required the complete closure
               23      of common areas of malls and shopping centers. These closures included Rivas
               24

               25
                    COVID-19 is a disease caused by the SARS-CoV-2 virus. The World Health
                       3

                  Organization recognizes that the disease name, rather than the virus name, is used
                  “to enable discussion on disease prevention, spread, transmissibility, severity and
               26 treatment.” World Health Organization, Why Do the Virus and the Disease Have
                  Different Names?, https://www.who.int/emergencies/diseases/novel-coronavirus-
               27 2019/technical-guidance/naming-the-coronavirus-disease-(covid-2019)-and-the-
                  virus-that-causes-it (last visited Sept. 10, 2020). Consistent with that purpose, this
               28 complaint will refer to COVID-19 rather than the virus that causes it.


ATTORNEYS AT LAW
  LOS AN GE LES                                                    7                    CLASS ACTION COMPLAINT
          Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 8 of 40 Page ID #:8


                   1   Sports’ eight Pro Image Sports locations, along with malls and shopping centers like
                   2   Del Amo throughout the United States.
                   3         23.    As state and local governments learned more about COVID-19, how it
                   4   spreads, and how the likelihood of spread can be minimized, they gradually scaled
                   5   back restrictions on individuals and commercial activities, including retail
                   6   operations. These governmental actions were typically combined with sensible,
                   7   achievable, and effective measures meant to inhibit the person-to-person spread of
                   8   COVID-19, such as disinfectant protocols, occupancy limitations, social distancing,
                   9   and the mandatory wearing of face masks.4
               10            24.    Rivas Sports’ six County locations of Pro Image Sports were open from
               11      late May to mid-July, when all mall operations were permitted to open in the County.
               12      During this time, Rivas Sports took extensive precautions to safeguard the health of
               13      its employees and customers. Among other things, it trained employees on all
               14      applicable County protocols, posted those protocols in the store, closed the dressing
               15      rooms, posted signs regarding social distancing and directing customers to not
               16      handle the merchandise, provided employees and customers with face masks,
               17      installed sneeze-guards and hand sanitizer stations in the store, required employees
               18      to wash their hands every 30 minutes, implemented extensive cleaning protocols,
               19      assigned employees to stations to minimize the cross-use of equipment, and required
               20      managers to screen employees at the start of each shift. Rivas Sports’ stores in the
               21      County operated at 50% maximum capacity at all times, in accordance with County
               22      requirements.
               23            25.    State and local governments overwhelmingly have recognized that,
               24      with appropriate limitations and measures, most retail business, including those
               25      inside indoor malls and shopping centers, can be operated safely. Indeed, Rivas
               26

               27  See, e.g., Governor of Texas, Executive Order GA 18, at 3 (Apr. 27, 2020),
                       4

                  available at https://gov.texas.gov/uploads/files/press/EO-GA-
               28 18_expanded_reopening_of_services_COVID-19.pdf.


ATTORNEYS AT LAW
  LOS AN GE LES                                                  8                   CLASS ACTION COMPLAINT
          Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 9 of 40 Page ID #:9


                   1   Sports safely operates two retail locations at indoor malls in San Bernardino County,
                   2   following state and local modifications on operations and its own stringent protocols,
                   3   and with the utmost attention to the health and safety of its employees and customers.
                   4                Del Amo Is Safe, But Nonetheless Its Interior Retailers
                   5                    Have Been Forced To Close Indoor Operations
                   6         26.    With over 250 retailers and 2.5 million square feet, Del Amo is one of
                   7   the largest shopping malls in the United States. Del Amo and its retailers—including
                   8   Rivas Sports—normally employ over 5,000 individuals, and the mall ordinarily
                   9   generates over $50 million in sales taxes and pays over $10 million in real estate
               10      taxes benefiting the community each year.
               11            27.    From 2013 to 2016, Del Amo underwent extensive renovations costing
               12      almost half a billion dollars.       State-of-the-art heating, ventilation, and air
               13      conditioning (“HVAC”) systems were installed during these 2013-2016 renovations.
               14            28.    Del Amo has vast and voluminous multistory pavilions that provide
               15      ample room for every patron to maintain social distancing and greatly reduce the
               16      risks of COVID-19 exposure. Hallways in the mall are 30 to 45 feet wide in most
               17      areas, and 60 to 80 feet wide in the major intersections. Ceiling heights are 50 to 70
               18      feet in two-level areas, and 15 to 40 feet in one-level areas.
               19            29.    On March 19, 2020, due to the COVID-19 pandemic, the County
               20      initially ordered the closure of all indoor malls and shopping centers, with the
               21      exception of “Essential Businesses” with entrances accessible to the public from the
               22      exterior of the indoor mall or shopping center. On May 26, the County issued an
               23      Order allowing indoor operations of malls and shopping centers to reopen. Del
               24      Amo’s interior reopened on May 29 with appropriate and effective safety
               25      precautions going above and beyond State and local requirements.
               26            30.    To ensure the safety of its retailers, their customers, and its own
               27      personnel, Simon has adopted extensive COVID-19 Exposure Mitigation Protocols
               28      in consultation with world-renowned epidemiologist and public health researcher

ATTORNEYS AT LAW
  LOS AN GE LES                                                   9                     CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 10 of 40 Page ID #:10


                   1   Dr. Jiali Han, and Certified Industrial Hygienist Daniel Engling. The protocols
                   2   identify potential points of exposure in malls based on the latest research regarding
                   3   transmission; adopt detailed measures to protect employees and customers from
                   4   exposure; formulate communications and signage strategies within malls, including
                   5   detailed plans regarding messaging and signage to regulate the flow of customers
                   6   and encourage social distancing and personal hygiene; implement plans regarding
                   7   use of common areas and closures of common area amenities, including
                   8   modifications to the use of bathrooms and elevators; and thorough property cleaning
                   9   and sanitation measures.
               10            31.    In accordance with these protocols, Del Amo implemented extensive
               11      measures to reduce the risk of COVID-19 transmission and to protect employees,
               12      retailers, and customers. Three mall entrances were used for customers, propped
               13      open at all times the mall was open to enhance air circulation. People-counting
               14      cameras at each entrance and other techniques were used to track occupancy in real
               15      time, security officers were stationed at each entrance to ensure the mall’s
               16      compliance with capacity limits, and state of the art air filters were installed.
               17      Informative signage was strategically placed throughout the mall to direct the flow
               18      of customers, encourage social distancing and personal hygiene, and communicate
               19      that face masks were required at all times. All common area moveable seating was
               20      removed, and built-in seating was closed to the public. The common areas were
               21      cleaned extensively during operating hours and overnight, including sanitizing key
               22      touch points such as directories, restrooms, elevators, and escalators. Hand sanitizer
               23      stations were installed at entries and throughout indoor common areas. The food
               24      court, play area, guest services desk, nursing station, some restrooms, and every
               25      other urinal and sink in open restrooms were also closed.
               26            32.    On July 13, in response to a statewide upsurge in cases, the California
               27      Department of Public Health issued a Statewide Public Health Officer Order closing
               28      all indoor malls in the County, although retailers with exterior entrances and

ATTORNEYS AT LAW
  LOS AN GE LES                                                  10                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 11 of 40 Page ID #:11


                   1   essential businesses were permitted to remain open. The County then issued a public
                   2   health order on July 14, mirroring the new statewide restrictions.
                   3         33.    Rivas Sports and the vast majority of Del Amo’s retailers are “interior
                   4   retailers,” meaning they have no separate entrance accessible to the public from the
                   5   exterior of the mall; i.e., customers must enter the indoor common area of the mall
                   6   to access these retailers. Only 55 Del Amo retailers are “exterior retailers,” currently
                   7   permitted to open for indoor operations at 25% capacity (with the exception of
                   8   restaurants with exterior entrances, which are open only for outdoor dining and
                   9   takeout). And only approximately four of Del Amo’s retailers operate non-food
               10      service essential businesses, such that they may invite consumers into their spaces
               11      by appointment to provide essential services, including optometry appointments.
               12      The remainder—approximately 200 interior retailers—have, like Rivas Sports, been
               13      permitted to offer sales only through curbside pickup or delivery since July 13.
               14              California Permits Indoor Malls To Open At Reduced Capacity
               15            34.    On August 28, 2020, the California Department of Public Health issued
               16      a Statewide Public Health Officer Order establishing a system that places each
               17      California county into a Tier based on health data, including case rates per capita
               18      and percentage of positive COVID-19 tests. See Exhibit 1 (“Statewide Order”). The
               19      County is currently in “Tier 1,” and Tiers are updated weekly as data is tracked.
               20      Beginning August 31, Tier 1 counties were permitted to reopen indoor malls and
               21      shopping centers, including their interior retailers, with maximum 25% capacity,
               22      closed common areas, and closed food courts. Tier 1 counties were also permitted
               23      to open all other indoor retail stores with maximum 25% capacity.
               24            35.    California’s treatment of indoor malls and their retailers is consistent
               25      with how these businesses are being treated throughout the United States. To
               26      Plaintiffs’ knowledge, none of the 50 States and no other California county besides
               27      the County of Los Angeles requires indoor operations of malls and their retailers to
               28      remain closed.

ATTORNEYS AT LAW
  LOS AN GE LES                                                   11                    CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 12 of 40 Page ID #:12


                   1       The County Health Officer’s Order Opens All Retail Stores For Business,
                   2                        Except Those Located In Indoor Malls
                   3          36.   The Statewide Order provides: “A local health jurisdiction may
                   4   continue to implement or maintain more restrictive public health measures,” but only
                   5   “if the jurisdiction’s Local Health Officer determines that health conditions in that
                   6   jurisdiction warrant such measures.” Statewide Order ¶ 4 (emphasis added). To
                   7   Plaintiffs’ knowledge, all California counties except the County of Los Angeles have
                   8   aligned with the provisions of the Statewide Order, and have allowed indoor malls
                   9   and shopping centers to reopen. For example, on September 1 and 4, 2020,
               10      respectively, Rivas Sports opened each of its two locations at indoor malls in San
               11      Bernardino County at 25% maximum capacity. And starting on August 31, Simon
               12      reopened indoor operations at malls in San Bernardino, Alameda, and Santa Clara
               13      Counties, in accordance with State and local restrictions. San Bernardino and
               14      Alameda Counties are in Tier 1, and Santa Clara County was moved to Tier 2 on
               15      September 8 (previously, it was in Tier 1).
               16             37.   On September 2, 2020, Dr. Davis, the Health Officer for the County of
               17      Los Angeles, issued an order titled “Reopening Safer at Work and in the Community
               18      for Control of COVID-19.” See Exhibit 2 (“County Order”).5 Paragraph 9 of the
               19      County Order describes a category of “Lower-Risk Businesses.” “Lower-Risk
               20      Businesses are businesses that are not specified in Paragraph 7 of this Order”—such
               21      as indoor dining, bars, and entertainment venues, which must remain closed—“and
               22      not defined as Essential Businesses in Paragraph 18 of this Order”—such as banks,
               23      hardware stores, and grocery stores.
               24

               25

               26
                   The County Order was last revised on September 4, 2020, with no revisions to the
                       5

                  provisions discussed in this Complaint. Compare Exhibit 2 with County of Los
                  Angeles Department of Public Health, Order of the Health Officer, Reopening
               27 Safer at Work and in the Community for Control of COVID-19 (revised Sept. 2,
                  2020), available at http://publichealth.lacounty.gov/media/
               28 coronavirus/docs/HOO/2020_09_02_HOO_Safer_at_Home.pdf.


ATTORNEYS AT LAW
  LOS AN GE LES                                                  12                  CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 13 of 40 Page ID #:13


                   1          38.     The County Order defines indoor malls and shopping centers as Lower-
                   2   Risk Businesses, recognizing the inherently safe nature of those facilities. County
                   3   Order ¶ 7(d). Rivas Sports and other interior retailers in indoor malls, such as retail
                   4   stores selling clothes, shoes, toys, jewelry, books, and sunglasses, also are defined
                   5   as Lower-Risk Businesses. And, in general, Lower-Risk Businesses, including large
                   6   department stores and small retailers—indeed, even hair salons and barbershops—
                   7   are now able to open to the public with capacity limitations. See County Order
                   8   ¶ 7(a), (e).
                   9          39.     The County Order thus claims that it “aligns the County with” the
               10      Statewide Order, “which describes a tiered approach to relaxing and tightening
               11      restrictions on activities based upon specified criteria[.]” County Order ¶ 1. And
               12      that is true in many respects. But when it comes to indoor malls and their interior
               13      retailers, the County Order differs sharply from the Statewide Order. Even though
               14      the County Order recognizes that these indoor malls and retail businesses are Lower-
               15      Risk Businesses, the County has ordered them to remain closed. Paragraph 9(d)
               16      provides:
               17             For Indoor Malls and Shopping Centers, defined as: A building with
                              (7) or more sales or retail establishments with adjoining indoor space,
               18
                              all indoor portions and operations remain closed to the public until
               19             further notice. Businesses located entirely within the interior of an
                              Indoor Mall or Shopping Center that are not temporarily closed
               20
                              pursuant to Paragraph 7 of this Order, may offer goods and services via
               21             outdoor curb-side pickup. Businesses or activities that are part of an
                              Indoor Mall or Shopping Center and that are not closed pursuant to
               22
                              Paragraph 7 of this Order, but that are accessible to the public from the
               23             exterior of the Indoor Mall or Shopping Center may remain open to the
                              public.
               24

               25      (Emphasis added.)
               26             40.     As a result of Paragraph 9(d), Del Amo’s interior retailers that are
               27      Lower-Risk Businesses, including Rivas Sports, are unable to open to the public,
               28      and employees of these retailers, such as Ms. Rivas, are unable to return to work.

ATTORNEYS AT LAW
  LOS AN GE LES                                                   13                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 14 of 40 Page ID #:14


                   1   But they would be able to open to the public and resume work if the retailers had an
                   2   exterior entrance or were not otherwise located within an indoor mall.
                   3         41.    Appendix E to the County Order details “Protocols for Shopping Center
                   4   Operators.” See Exhibit 3 (“Appendix E”). Appendix E allows businesses located
                   5   entirely within the interior of a mall or shopping center only to offer “online ordering
                   6   and curbside pick-up outside the shopping center” in accordance with the following
                   7   guidance:
                   8         Retailers that choose to offer curbside pick-up should set pick-up times
                             for items so that employees are able to bring pre-ordered items [to]
                   9
                             customers at a designated site or sites outside the mall. Pick-up sites
               10            should be clearly marked and customers should be encouraged to pre-
                             pay for their orders. On arrival, customers should notify the employees
               11
                             that they have arrived for pick-up and should remain in their car. An
               12            employee, wearing a cloth face covering should bring the customer’s
                             order to the designated pick-up site in a container (e.g., a bin, shopping
               13
                             cart, or other container) and place it directly in the customer’s trunk.
               14

               15            42.    Rivas Sports has implemented online ordering with an option for
               16      curbside pickup, but no customers have elected to use curbside pickup, despite Rivas
               17      Sports’ attempts to market the option through social media posts and podcasts. This
               18      is because the Pro Image Sports business—featuring licensed sports merchandise
               19      that customers often buy on “impulse”—depends on foot traffic within the mall, as
               20      do many other interior retailers. The County Order’s allowance of strictly regulated
               21      outdoor pickup has not provided meaningful relief to Rivas Sports, Ms. Rivas, the
               22      hundreds of retailers County-wide that have been forced to close, and the thousands
               23      of employees County-wide who have lost work. Only about 40 of Del Amo’s
               24      approximately 200 interior retailers currently offer curbside pickup.
               25            43.    Appendix E also details how “Essential Businesses” located in a mall
               26      or shopping center’s interior may operate:
               27            Essential services that operate inside a shopping center such as medical
                             services (clinics or optometrists) may continue to operate. If these
               28


ATTORNEYS AT LAW
  LOS AN GE LES                                                   14                    CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 15 of 40 Page ID #:15


                   1         businesses do not have a door that opens to the exterior of the center,
                   2         these businesses should work by an appointment-only system. Staff
                             should meet each patient/client at the mall entrance and escort them to
                   3         the service location. As much as feasible other methods such as
                   4         telemedicine options or on-line services should be offered.

                   5         44.    Very few interior retailers at Del Amo offer “essential services,” and
                   6   those that do must operate by appointment only, with employees escorting customers
                   7   into and out of the mall. Currently Amy Kim Optometry and LensCrafters (offering
                   8   optometrist appointments) and Skin Laundry (officer clinical skincare treatments)
                   9   are open by appointment. A United States Military recruiting office and United
               10      States Post Office boxes are also operating in the interior.
               11            45.    In sum, the County Order requires closure of all indoor operations of
               12      malls and their interior retailers, except to the extremely limited extent that interior
               13      retailers may offer curbside pickup entirely outside of the mall, and interior Essential
               14      Businesses may offer essential services by appointment only. The County Order
               15      stands in direct contradiction to the Statewide Order.
               16          Defendants Have Offered No Valid Reason For Their Departure From
               17                                        Statewide Policy
               18            46.    While indoor malls and their interior retailers are now open and
               19      operating safely elsewhere in California and the United States, and large and small
               20      retail stores not located in indoor shopping centers or malls are now open and
               21      operating safely in the County, indoor shopping centers and their interior retailers
               22      in the County, like Rivas Sports, uniquely remain closed, and many of their
               23      employees, like Ms. Rivas, remain out of work—without any explanation or any
               24      scientific support. Although the Statewide Order allows local health jurisdictions to
               25      implement more restrictive public health measures “if the jurisdiction’s Local Health
               26      Officer determines that health conditions in that jurisdiction warrant such measures”
               27      (Statewide Order ¶ 4), Dr. Davis has not identified any “health conditions” in the
               28      County that warrant the County’s refusal to align with the Statewide Order and

ATTORNEYS AT LAW
  LOS AN GE LES                                                   15                    CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 16 of 40 Page ID #:16


                   1   nationwide practice with respect to indoor malls and shopping centers. Nor has any
                   2   other Defendant.
                   3         47.    On September 4, 2020, Ms. Rivas sent an email to the Board,
                   4   mentioning Rivas Sports’ Del Amo location and urging reconsideration of the
                   5   County’s departure from the statewide policy adopted in every other county. See
                   6   Exhibit 4. She submitted three other similar emails to the Board regarding Rivas
                   7   Sports’ other County retail locations. She only received an automated response that
                   8   the email “will be included as part of the official record for the Board meeting,” but
                   9   has never received any explanation from the County regarding its arbitrary,
               10      discriminatory, and deeply harmful policy.
               11            48.    The State’s data does not support treating Los Angeles County
               12      differently from other Tier 1 counties. For example, the State currently classifies
               13      Los Angeles and Imperial Counties as Tier 1, i.e., counties where COVID-19 is
               14      deemed “widespread.” The key factors that the State uses for tiering are uniformly
               15      worse in Imperial County: Its most recent adjusted case rate for tiering purposes
               16      was 11.8 new COVID-19 positive cases per day per 100,000 people (vs. 9.6 for Los
               17      Angeles County) and a 10.9% positivity rate (vs. 4.3% for Los Angeles County).6
               18      But, inexplicably, indoor malls and shopping centers in Imperial County are allowed
               19      to be open, while those in Los Angeles County must remain closed.7
               20            49.    The County Order provides no explanation whatsoever for its industry-
               21      specific departures from State mandates. See County Order ¶¶ 10-14. And there is
               22      no valid public health reason for treating indoor malls and their interior retailers
               23      differently. The only even arguable distinction between interior retailers like Rivas
               24      Sports and other retailers with exterior entrances is the need to pass through notably
               25

               26   See California Blueprint for a Safer Economy, https://covid19.ca.gov/safer-
                       6

                  economy (last visited Sept. 10, 2020).
               27 7 See County of Imperial, Order of the Health Officer at 6 (Aug. 30, 2020),
                  available at http://www.icphd.org/media/managed/healthofficerorders/
               28 Health_Officer_Order_8_30_2020_v2_002_002_.pdf.


ATTORNEYS AT LAW
  LOS AN GE LES                                                  16                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 17 of 40 Page ID #:17


                   1   wide, high-ceilinged, and well ventilated interior corridors for access—as opposed
                   2   to narrow outdoor sidewalks where social distancing, mask usage, and other
                   3   protocols may not be enforceable—and that distinction does not support treating
                   4   indoor malls and their interior retailers more restrictively.
                   5           50.   The data does not support any hypothesis that those wide and high-
                   6   ceilinged interior corridors pose any greater risk of transmitting COVID-19.
                   7   Plaintiffs are unaware of any support—and the County Order identifies none—for
                   8   the notion that settings such as spacious indoor malls and shopping centers with
                   9   modern and well-maintained HVAC systems, and their interior retailers, present
               10      greater risks when compared to the large and small retailers, including hair salons
               11      and barbershops, that the County has permitted to remain open.
               12              51.   The World Health Organization has advised that a “well-maintained
               13      and operated [HVAC] system can reduce the spread of COVID-19 in indoor spaces
               14      by increasing the rate of air change, reducing recirculation of air and increasing the
               15      use of outdoor air.”8 The Global Heat Health Information Network, an independent
               16      network of scientists and policymakers, completed a review of the available
               17      evidence and concluded: “Air conditioning and ventilation are considered effective
               18      control strategies for preventing workplace infection and ill health,” and “there is no
               19      strong evidence to suggest that a well-maintained air conditioning, ventilation, or
               20      other type of climate control system will contribute to the transmission of COVID-
               21      19.”9
               22              52.   Indeed, two recent studies reported that the virus was not detected at all
               23      in air samples in the immediate vicinity of COVID-19 patients in hospitals, despite
               24

               25   Q&A: Ventilation and Air Conditioning and COVID-19, WORLD HEALTH
                       8

                  ORGANIZATION (July 29, 2020), https://www.who.int/news-room/q-a-detail/q-a-
               26 ventilation-and-air-conditioning-and-covid-19 (last visited Sept. 10, 2020).
                  9
                    Q&A: Do Air Conditioning and Ventilation Systems Increase the Risk of Virus
               27 Transmission? If So, How Can This Be Managed?, GLOBAL HEAT HEALTH
                  INFORMATION NETWORK (May 22, 2020), http://www.ghhin.org/heat-and-covid-
               28 19/ac-and-ventilation (last visited Sept. 10, 2020).


ATTORNEYS AT LAW
  LOS AN GE LES                                                   17                    CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 18 of 40 Page ID #:18


                   1   significant viral load in the patients’ respiratory secretions.10 Another recent study
                   2   found that on a January 2020 flight from China to Canada, two patients with COVID-
                   3   19 (one of whom was actively symptomatic) did not transmit the virus to any of the
                   4   25 passengers seated nearby.11 And there have been no reports of COVID-19
                   5   transmission due to air recirculation at indoor malls, shopping centers, or retail
                   6   stores.
                   7         The County Order Arbitrarily Treats Similarly Situated Businesses
                   8                                        Differently
                   9         53.    At the same time that the County has chosen to depart from the
               10      Statewide Order and nationwide practice by closing indoor malls and their interior
               11      retailers, the County has allowed comparable businesses to remain open for months,
               12      including large retail stores (such as big-box stores and multilevel department stores
               13      with elevators and escalators) and “outdoor” malls.
               14            54.    The County Order allows large stores including Walmart, Target, Cost
               15      Plus World Market, and Daiso to operate within half a mile of Del Amo. Although
               16      each of those stores sells essential items, they also on that account are allowed to
               17      open all of their departments for in-store shopping and thus sell any other products
               18      in their inventory including an enormous variety of non-essential items. However,
               19

               20

               21      10
                          Vincent C. C. Cheng, et al., Escalating Infection Control Response to the
                       Rapidly Evolving Epidemiology of the Coronavirus Disease 2019 (COVID-19) Due
               22      to SARS-CoV-2 in Hong Kong, 41 INFECTION CONTROL AND HOSPITAL
                       EPIDEMIOLOGY 493, 497 (2020), available at https://www.cambridge.org/core/
               23      journals/infection-control-and-hospital-epidemiology/article/escalating-infection-
                       control-response-to-the-rapidly-evolving-epidemiology-of-the-coronavirus-
               24      disease-2019-covid19-due-to-sarscov2-in-hong-
                       kong/52513ACC56587859F9C601DC747EB6EC; Sean Wei Xiang Ong, et al.,
               25      Air, Surface Environmental, and Personal Protective Equipment Contamination by
                       Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) from a
               26      Symptomatic Patient, 323 JAMA 1610 (2020), available at
                       https://jamanetwork.com/journals/jama/article-abstract/2762692.
               27      11
                          Kevin L. Schwartz, et al., Lack of COVID-19 Transmission on an International
               28
                       Flight, 192 CANADIAN MEDICAL ASSOCIATION JOURNAL E410 (2020), available at
                       https://www.cmaj.ca/content/192/15/E410.

ATTORNEYS AT LAW
  LOS AN GE LES                                                  18                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 19 of 40 Page ID #:19


                   1   stores that sell comparable items in the Del Amo interior are unable to do so under
                   2   the County Order, and employees of those stores are unable resume their work.
                   3         55.    For example, Walmart and Target may sell licensed sports merchandise
                   4   and other apparel right next to Del Amo, but Rivas Sports cannot resume indoor
                   5   operations under the County Order simply because it is located in Del Amo’s
                   6   interior. Oil & Vinegar, a specialty store featuring oils, vinegars, and pre-packaged
                   7   foods and gifts from around the world, has been forced to close while Cost Plus
                   8   World Market continues to sell specialty food items and gifts down the street. And
                   9   customers may purchase toys, stationery, and other items from Japan right outside
               10      of Del Amo at Daiso, but Sanrio and Tokyo Japanese Lifestyle are prohibited from
               11      welcoming customers in Del Amo’s interior to purchase the same types of items.
               12      But there is no reason to believe that, by virtue of their placement, stores within
               13      indoor malls and shopping centers (which almost uniformly have wide, high-
               14      ceilinged, and well-ventilated interior walkways) as a class are riskier than stores
               15      located elsewhere. There is no rational basis for this differential treatment of Rivas
               16      Sports, Oil & Vinegar, Sanrio, Tokyo Japanese Lifestyle, and hundreds of other
               17      interior retailers—and neither the County nor any other Defendant has offered one.
               18            56.    The County’s arbitrary treatment of interior retailers is evident across
               19      the Del Amo property as well. Large, multilevel stores including Nordstrom and
               20      Barnes & Noble have been permitted to operate at Del Amo since late May, merely
               21      because they have exterior entrances. However, stores selling apparel and books in
               22      Del Amo’s interior, such as American Eagle and BookOff, are forced to close. But
               23      there is no reason to believe that, by virtue of their placement, stores within indoor
               24      malls and shopping centers (which almost uniformly have wide, high-ceilinged, and
               25      well-ventilated internal walkways) as a class are riskier than shopping center stores
               26      with exterior entrances. There accordingly is no rational basis for this differential
               27      treatment among the mall’s retailers—and neither the County nor any other
               28      Defendant has offered one.

ATTORNEYS AT LAW
  LOS AN GE LES                                                  19                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 20 of 40 Page ID #:20


                   1         57.    The arbitrariness of these classifications is particularly evident in the
                   2   distinction made between department stores (in which varying types of goods are
                   3   sold within different sections, and under the same roof, of the same commonly
                   4   owned store) and indoor malls (in which varying types of goods are sold within
                   5   separately owned stores within the same mall). There is no rational reason to
                   6   conclude that the separate ownership of the stores within a mall pose a greater risk
                   7   than the commonly owned but distinct sections of a department store.
                   8         58.    The County Order’s irrationality when it comes to distinctions among
                   9   retail stores is also pronounced because it permits small retailers with narrow aisles
               10      and low ceilings to remain open if they have an exterior entrance, but forbids all
               11      retailers—no matter how large and well ventilated—to remain closed if they are
               12      located in the interior of a mall or shopping center.
               13            59.    The irrationality of the County Order is further demonstrated by the fact
               14      that the County elected to follow the Statewide Order and generally allow hair salons
               15      and barbershops to resume operations at 25% maximum capacity, in accordance with
               16      Tier 1 restrictions, beginning on September 2, 2020. County Order ¶ 9(e). Yet not
               17      only can Brow Arc Salon, located in Del Amo’s interior and offering haircuts and
               18      coloring, not resume operations, but neither can interior retailers such as Dr. Eye
               19      Phone and Fast Fix, which repair phones and jewelry, respectively, services that
               20      require no person-to-person contact and thus present less risk. It is inexplicable that
               21      the County Order would choose to defy State guidance with respect to indoor
               22      malls—which easily allow for social distancing when at reduced capacity—but to
               23      follow the State’s directive when it comes to services that, by their nature, require
               24      direct and sustained physical contact between employees and customers.
               25            60.    As a result of these irrational policies, consumers seeking products and
               26      services are now limited to shopping in a smaller number of governmentally favored
               27      stores, resulting in a greater concentration of consumers in a smaller number of retail
               28


ATTORNEYS AT LAW
  LOS AN GE LES                                                   20                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 21 of 40 Page ID #:21


                   1   locations, rather than a disbursement of those people across large spaces where
                   2   social distancing would actually be more achievable.
                   3            Virtually All Other Jurisdictions Have Rejected Defendants’
                   4                      Arbitrary Interior/Exterior Mall Dichotomy
                   5          61.   The County Order’s decision to close indoor malls and their interior
                   6   retailers while allowing retail stores with exterior entrances to remain open stands in
                   7   stark contrast to the approaches taken not only by California, but also by state and
                   8   local governments throughout the country. Although some states and localities
                   9   initially distinguished between interior and exterior mall and shopping center
               10      retailers, they have virtually unanimously eliminated such distinctions as
               11      policymakers became aware of the actual science and data. And some states, such
               12      as Florida and Texas, never recognized the arbitrary interior/exterior distinction at
               13      all.
               14             62.   For example, Rivas Sports’ Pro Image Sports locations in San
               15      Bernardino County are currently open in accordance with the Statewide Order.
               16      These locations are in Ontario and Montclair, only 50 to 60 miles from Del Amo.
               17      And Del Amo interior retailer Oil & Vinegar’s eleven other retail locations are
               18      currently open in Nevada, Oregon, Washington, Texas, South Carolina,
               19      Pennsylvania, Florida, and Alaska—only the Del Amo location is closed.
               20             63.   To Plaintiffs’ knowledge, none of the 50 States still prohibits indoor
               21      malls and shopping centers from operating, and Los Angeles is the only California
               22      county to prohibit indoor mall and shopping center operations while allowing
               23      exterior retail to remain open. In fact, only one of the 35 commercial retail properties
               24      that Simon manages—which span 20 states and four California counties—is closed:
               25      Del Amo. The County is an extreme outlier, to the detriment of Rivas Sports, Ms.
               26      Rivas, all of the County’s other businesses and residents, and the community at large.
               27

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ATTORNEYS AT LAW
  LOS AN GE LES                                                   21                    CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 22 of 40 Page ID #:22


                   1     Plaintiffs Have Been Afforded No Process To Challenge The Lack Of Any
                   2         Rational Basis For The County Order Or The Distinctions It Draws
                   3         64.    According to the County Order, Dr. Davis, as County Health Officer,
                   4   may “issue Orders that are more restrictive than the guidance and orders issued by
                   5   the State Public Health Officer” only “after consultation with the Board of
                   6   Supervisors.” County Order ¶ 25. There is no evidence that Dr. Davis consulted
                   7   with the Board before issuing the County Order, which is more restrictive than the
                   8   Statewide Order. The lack of consultation is apparent, as any consultation would
                   9   have had to occur during a meeting open to the public under California’s Ralph M.
               10      Brown Act, California Government Code § 54950 et seq.
               11            65.    No other process was available to Plaintiffs or other interested members
               12      of the public to present data to the County Health Officer or Board or otherwise
               13      influence the County Order before it went into effect.
               14            66.    Even though the County Order remains effective indefinitely, it does
               15      not allow for any process to challenge, before the County Health Officer or Board,
               16      its irrational classifications and determinations.
               17            67.    If a process were available, Plaintiffs would present scientific evidence
               18      showing that indoor malls, shopping centers, and their interior retailers present no
               19      greater public health risk than outdoor malls, other retailers, big-box stores,
               20      barbershops, hair salons, and other businesses that have been allowed to remain open
               21      or reopen. In fact, Plaintiffs would present evidence showing that indoor malls and
               22      shopping centers are safer and allow ample opportunities for social distancing, and
               23      that retailers like Rivas Sports, as well as managers like Simon, have made
               24      substantial investments and developed stringent protocols to protect employees and
               25      customers from the spread of COVID-19.
               26

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ATTORNEYS AT LAW
  LOS AN GE LES                                                   22                  CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 23 of 40 Page ID #:23


                   1                Defendants’ Irrational Actions Have Harmed Plaintiffs,
                   2                         And Residents Throughout the County
                   3         68.    The County’s arbitrary closure of indoor malls and their interior
                   4   retailers has caused, and will continue to cause, substantial harms to Plaintiffs, their
                   5   employees, other Del Amo interior retailers and their employees, the community,
                   6   and the retailers, operators, and employees of indoor malls and shopping centers
                   7   throughout the County. These harms include monetary losses due to reduced
                   8   income, sales, and rent payments, and non-monetary and existential losses in the
                   9   form of the loss of customer goodwill. Rivas Sports and other Del Amo retailers
               10      also face the potential long-term loss of customer traffic, as consumers adjust their
               11      shopping habits, utilize more and more retailers outside Del Amo, and develop
               12      potentially long-term loyalty and brand affinity for the operating stores as a
               13      substitute for those in the mall’s interior.
               14            69.    Rivas Sports has been forced to close 75% of its Pro Image Sports
               15      locations due to the County’s indefensible policy, as six of its eight locations are in
               16      the interior of County malls, including the Del Amo location. Rivas Sports’ business
               17      depends on foot traffic from the malls in which its stores operate; closing the stores
               18      has caused sales and profitability to collapse. Ms. Rivas, the sole owner and an
               19      employee of Rivas Sports, has been devastated by this sudden upheaval of her entire
               20      business. She began the business 24 years ago with her husband, starting with one
               21      franchise and expanding over time to eight. When her husband passed away in 2015,
               22      she stepped up to run the family business, and has poured her heart and soul into
               23      keeping it running on her own while raising her three children. Unfortunately, the
               24      closures have forced Rivas Sports to lay off employees, including dedicated
               25      managers that Ms. Rivas has worked with for 15 years. Rivas Sports and Ms. Rivas
               26      are doing everything they can to protect these employees, including negotiating with
               27      vendors, the franchisor, lessors, and utilities. The business cannot continue under
               28      these conditions, and Rivas Sports estimates that it will be forced to begin

ATTORNEYS AT LAW
  LOS AN GE LES                                                       23                CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 24 of 40 Page ID #:24


                   1   permanently closing locations in the next month if the County does not immediately
                   2   lift the closure order.
                   3          70.    Due to the steep dropoff in sales and profitability, Rivas Sports is no
                   4   longer able to pay Ms. Rivas a salary or shareholder dividends. Ms. Rivas is living
                   5   off of savings and minimal unemployment insurance payments to support herself
                   6   and her family.
                   7          71.    Rivas Sports and likely over a hundred other Del Amo interior retailers
                   8   would reopen at 25% capacity if permitted by the County. As permitted by the
                   9   Statewide Order, Rivas Sports reopened its two locations in San Bernardino County
               10      on September 1 and 4, 2020, and would promptly open all six Pro Image Sports
               11      locations in the County if permitted. Simon opened Ontario Mills, an indoor mall
               12      located 60 miles from Del Amo in San Bernardino County, on August 31.
               13      Approximately 45% of the retailers opened on August 31 at 25% capacity, and, as
               14      of September 9, 67% of retailers were open, covering 76% of Ontario Mills’ gross
               15      leasable area. In nearby Orange County, Simon Property opened indoor operations
               16      at Brea Mall with approximately 45% of retailers open on August 31, and 80% of
               17      retailers open by September 9, covering 93% of Brea Mall’s gross leasable area.
               18      These numbers suggest that a substantial number of interior retailers at Del Amo
               19      would quickly reopen at 25% capacity, particularly given that Del Amo, Ontario
               20      Mills, and Brea Mall have a number of the same retailers. Interior retailers and their
               21      employees throughout the County, fully ready and able to reopen under the
               22      Statewide Order’s restrictions, are suffering severe damages daily as their businesses
               23      remain closed and their employees remain out of work.
               24             72.    The County Order infringes on the property rights of Rivas Sports.
               25      Interior retailers, including Rivas Sports, lease space specifically for indoor
               26      shopping by the public, a safe and lawful purpose that would be possible virtually
               27      anywhere else in the country. Rivas Sports and other similarly situated interior
               28      retailers have property rights in those leases, have licenses allowing them to do

ATTORNEYS AT LAW
  LOS AN GE LES                                                  24                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 25 of 40 Page ID #:25


                   1   business, have property rights in the continued operation of their businesses, and
                   2   have developed substantial goodwill among customers and the public. Many interior
                   3   retailers—like Rivas Sports—depend critically on foot traffic from the millions of
                   4   mall patrons annually for sales. The County Order prevents these businesses from
                   5   operating, depriving them of these property rights. Likewise, Del Amo is unable to
                   6   operate for indoor public shopping—even though it is licensed for that purpose, it
                   7   has developed substantial goodwill among its millions of visitors each year, and
                   8   DAFC has invested hundreds of millions of dollars to make it a safe and attractive
                   9   shopping destination.
               10            73.    The County Order also infringes the right of Ms. Rivas and employees
               11      of other interior retailers to pursue their chosen occupations. Ms. Rivas is an
               12      employee of, and the owner of, Rivas Sports. All of Rivas Sports’ locations are
               13      located in indoor malls and shopping centers, and 75% of those locations are
               14      currently closed due to the arbitrary and irrational County Order. As a result of the
               15      store closures, Ms. Rivas is unable to receive a salary from Rivas Sports, and the
               16      company she owns and operates may soon go out of business if the County Order is
               17      not lifted immediately.
               18            74.    Plaintiffs’ damages attributable to Defendants’ policies are severe, and
               19      continue to mount each day.
               20            75.    Rivas Sports’ Del Amo location remains closed, is unable to generate
               21      meaningful revenue, and incurs losses due largely to expenses that cannot be
               22      reduced. During the month of June, the Del Amo location was able to generate over
               23      $40,000 in revenue—despite capacity limitations. While that location is closed,
               24      however, it sells significantly less merchandise and causes substantial net losses for
               25      Rivas Sports. Were the Del Amo location allowed to reopen, it would see far more
               26      foot traffic and sales—just like Rivas Sports’ locations in San Bernardino County,
               27      which recently reopened subject to capacity limitations. While the Del Amo location
               28      normally employs approximately 10 people—and would employ approximately 7 if

ATTORNEYS AT LAW
  LOS AN GE LES                                                  25                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 26 of 40 Page ID #:26


                   1   allowed to reopen at 25% capacity—it has had to lay employees off. In addition,
                   2   Ms. Rivas, Rivas Sports’ owner, has had to stop taking a salary.
                   3         76.    These injuries only begin to describe those that interior retailers have
                   4   suffered and will continue to suffer. Interior retailers face significant lost business
                   5   opportunities and the possibility of inventory spoilage. For example, Oil & Vinegar,
                   6   a store selling specialty groceries, ordinarily holds a sale in August during the
                   7   summer to clear its inventory—which has about a nine-month shelf life—before
                   8   reordering ahead of the winter holiday season. The Del Amo store was unable to
                   9   hold that sale in August, and if the store does not reopen soon, it might not have the
               10      chance to sell its inventory before it expires.
               11            77.    The sustained closure of Del Amo also affects the rent retailers pay.
               12      Interior retailers pay a minimum monthly rent, certain pass-through charges (such
               13      as for taxes), and a percentage of gross sales after sales exceed a certain threshold.
               14      Although retailers are obligated to pay minimum monthly rent during the term of
               15      their lease even if their stores are not open, many of Del Amo’s interior retailers are
               16      unable to generate revenue to pay rent because the County Order prevents them from
               17      operating their stores in the mall. The longer the interior of Del Amo stays closed,
               18      the more likely it becomes that retailers will be forced out of business, damaging the
               19      retailers, their employees, Plaintiffs, and the community.
               20            78.    The County Order is enforceable through criminal sanctions. State law
               21      authorizes law enforcement, including Defendant Alex Villanueva, in his official
               22      capacity as Sheriff of the County, to enforce orders of the County Health Officer.
               23      See, e.g., Cal. Health & Safety Code § 101029; Cal. Gov’t Code § 26602. The
               24      County Order itself requests the assistance of law enforcement to “ensure
               25      compliance with and enforcement of this Order” and makes “[t]he violation of any
               26      provision of this Order . . . a public nuisance . . . punishable by fine, imprisonment,
               27      or both.” County Order ¶ 27. Plaintiffs and their employees—along with the many
               28


ATTORNEYS AT LAW
  LOS AN GE LES                                                   26                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 27 of 40 Page ID #:27


                   1   other interior retailers and their employees—would thus face criminal penalties if
                   2   they violated the terms of the arbitrary and unsupported County Order.
                   3                          CLASS ACTION ALLEGATIONS
                   4         79.    Rivas Sports brings this action pursuant to Federal Rule of Civil
                   5   Procedure 23(a), (b)(1)(A), (b)(2), and (b)(3) on behalf of itself and all others
                   6   similarly situated. The proposed class is defined as follows:
                   7         All retailers at Del Amo Fashion Center that do not have an exterior
                             entrance and are not “Essential Businesses” as defined in the County of
                   8
                             Los Angeles Health Officer’s Order, titled “Reopening Safer at Work
                   9         and in the Community for Control of COVID-19,” and last revised on
                             September 4, 2020, and that thus must remain closed to the public for
               10
                             in-person shopping under the terms of that Order.
               11

               12            80.    The proposed class is so numerous that joinder of all members is
               13      impractical. According to Simon’s records, Del Amo has over 150 interior retailers
               14      that are not Essential Businesses. Many of them are small businesses that have
               15      experienced severe financial hardship due to prolonged closures amid the COVID-
               16      19 pandemic, and are unable to institute suit on their own behalf. In addition, the
               17      County Order was just issued, and immediate relief from it is necessary. There is
               18      insufficient time to join all members of the proposed class.
               19            81.    There are questions of law and fact that are common to the proposed
               20      class. All members of the proposed class are interior retailers at Del Amo that are
               21      not Essential Businesses and are thus closed to public, in-person shopping due to the
               22      County Order. Members of the proposed class have suffered common federal and
               23      state constitutional injuries from the County Order, which arbitrarily and irrationally
               24      treats proposed class members differently based solely on their location in the
               25      interior of a mall—a distinction that has no scientific or other rational basis.
               26      Members of the proposed class have suffered, and will continue to suffer, injury to
               27      their property rights, financial harms, and loss of goodwill due to the County Order.
               28      Their shared common facts and harms will ensure that judicial findings regarding

ATTORNEYS AT LAW
  LOS AN GE LES                                                   27                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 28 of 40 Page ID #:28


                   1   the legality of the County Order will be the same for all members of the proposed
                   2   class. Should Rivas Sports prevail, all proposed class members will benefit, as the
                   3   interior of Del Amo—and proposed class members’ businesses—will be permitted
                   4   to reopen.
                   5         82.    Rivas Sports’ claims are typical of the claims of the proposed class.
                   6   Rivas Sports and proposed class members raise common legal claims and are united
                   7   in their interest and injury. Rivas Sports, like all proposed class members, is an
                   8   interior retailer at Del Amo that is not an Essential Business, and has thus been
                   9   forced to close to in-person public shopping by the County Order. Rivas Sports and
               10      the members of the proposed class are thus victims of the same, unlawful order, for
               11      which Defendants are responsible.
               12            83.    Rivas Sports is an adequate representative of the proposed class. Rivas
               13      Sports seeks relief on behalf of the proposed class as a whole and has no interest
               14      antagonistic to other members of the proposed class. To the contrary, Rivas Sports’
               15      interests are aligned with those of other proposed class members: Rivas Sports’
               16      business depends on foot traffic from the mall; when more stores are open, more
               17      shoppers come to the mall, increasing Rivas Sports’ potential customer base. Rivas
               18      Sports’ goal is to declare the unlawful County Order invalid, to prevent enforcement
               19      of the County Order against Rivas Sports and other Del Amo retailers, and to obtain
               20      compensation for the property, financial, and other harms the County Order has
               21      inflicted on them. Rivas Sports seeks the same remedies for all class members. It
               22      is represented by attorneys from Latham & Watkins LLP, who are experienced in
               23      class actions and complex constitutional litigation against government actors, and
               24      have the resources to successfully obtain class relief. Rivas Sports and its counsel
               25      intends to prosecute this action vigorously.
               26            84.    Members of the proposed class may be ascertained from Del Amo’s
               27      business records and can be personally notified of the pendency of this action by
               28


ATTORNEYS AT LAW
  LOS AN GE LES                                                  28                  CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 29 of 40 Page ID #:29


                   1   first-class mail, e-mail, personal service, and/or published notice calculated to reach
                   2   all such members.
                   3         85.    As this action involves the validity of the County Order, inconsistent or
                   4   varying adjudications with respect to individual members of the proposed class
                   5   could establish incompatible standards of conduct for Defendants. See Fed. R. Civ.
                   6   P. 23(b)(1)(A).
                   7         86.    Defendants have acted or refused to act on grounds that apply generally
                   8   to the proposed class, and final declaratory and injunctive relief is appropriate
                   9   respecting the proposed class as a whole. See Fed. R. Civ. P. 23(b)(2).
               10            87.    The questions of fact and law common to Rivas Sports and members of
               11      the proposed class predominate over any questions affecting individual members. A
               12      class action is superior to other available methods for fairly and efficiently
               13      adjudicating this controversy because, among other things: (a) the County Order
               14      applies to all proposed class members, Rivas Sports and proposed class members are
               15      entitled to uniform relief, and individualized actions could result in incompatible
               16      standards of conduct for Defendants; (b) members of the proposed class could not
               17      reasonably be expected to seek legal redress individually, as they are suffering
               18      severe financial hardship from the continued forced closure of their businesses; (c)
               19      time is of the essence to keep Rivas Sports and other proposed class members from
               20      going out of business; (d) to Rivas Sports’ knowledge, there is no other litigation
               21      concerning this controversy; (e) it is desirable to concentrate this litigation in this
               22      District since Rivas Sports, other proposed class members, Del Amo, and
               23      Defendants are all located in the District; (f) the class action procedure provides the
               24      benefits of adjudicating the issues raised in a single proceeding, economies of scale,
               25      and comprehensive supervision by a single court; and (g) this action presents no
               26      unusual management difficulties. See Fed. R. Civ. P. 23(b)(3).
               27            88.    For these reasons, this case should be certified as a class action.
               28


ATTORNEYS AT LAW
  LOS AN GE LES                                                   29                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 30 of 40 Page ID #:30


                   1                               FIRST CAUSE OF ACTION
                   2               (42 U.S.C. § 1983 and Ex Parte Young—Equal Protection)
                   3         89.       All of the foregoing paragraphs are incorporated as though fully set
                   4   forth herein.
                   5         90.       The Fourteenth Amendment to the United States Constitution forbids
                   6   Defendants from “deny[ing] any person . . . the equal protection of the laws.” The
                   7   basic principle animating this command is that the government must treat similarly
                   8   situated persons similarly; “[w]hen those who appear similarly situated are
                   9   nevertheless treated differently, the Equal Protection Clause requires at least a
               10      rational reason for the difference.” Engquist v. Or. Dep’t of Agric., 553 U.S. 591,
               11      602 (2008).
               12            91.       Under the County Order, many businesses—including big-box retailers
               13      like Walmart and Target, large department stores located in malls that have exterior
               14      entrances, and small businesses like barbershops with exterior entrances—are
               15      allowed to open to the public. Yet similarly situated non-essential businesses located
               16      in indoor malls and shopping centers cannot open to the public for in-store shopping
               17      at all—just because of their interior locations. And even the operations of essential
               18      businesses located in indoor malls and shopping centers are restricted by comparison
               19      with like businesses not located in indoor malls or shopping centers. County Order
               20      ¶ 9(d); see Appendix E.
               21            92.       There is no rational reason for this difference in treatment.    The
               22      Statewide Order allows indoor malls and shopping centers to reopen, and the County
               23      Order classifies indoor malls and shopping centers as Lower-Risk Businesses, the
               24      same classification given to many other businesses that are allowed to open. County
               25      Order ¶ 9. The County Order cites no evidence supporting the determination to force
               26      indoor malls and shopping centers to remain closed while allowing other, similar
               27      businesses to open. And there is none. According to the scientific evidence, indoor
               28


ATTORNEYS AT LAW
  LOS AN GE LES                                                   30                  CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 31 of 40 Page ID #:31


                   1   malls and shopping centers, and the stores connected to them, pose no greater public
                   2   health risk than other, similar businesses that are allowed to open.
                   3         93.       The only distinguishing feature of the interior stores that must stay
                   4   closed is the need to pass through the vast common areas of indoor malls for access.
                   5   But retail shopping—including at stores that are allowed to remain open—almost
                   6   always involves being indoors. There is nothing about the indoor common areas of
                   7   indoor malls and shopping centers that makes transmission of COVID-19 there more
                   8   likely than in other retail properties. To the contrary, the common areas of indoor
                   9   malls and shopping centers generally are wider and higher ceilinged than the
               10      narrower aisles of big-box stores and department stores, much less the far more
               11      cramped spaces inside smaller stores and barbershops, and thus offer better air
               12      circulation and more room for social distancing—factors key to inhibiting the spread
               13      of COVID-19.
               14            94.       Moreover, interior retailers like Rivas Sports, and indoor mall and
               15      shopping center managers like Simon, stand ready to abide by capacity limitations,
               16      social distancing measures, and other guidelines meant to inhibit the spread of
               17      COVID-19. Indeed, Rivas Sports and Simon Property have invested significant
               18      resources and developed stringent protocols meant to protect employees and
               19      customers that go beyond what many jurisdictions require.
               20            95.       The disparate treatment visited on indoor malls and shopping centers is
               21      wholly irrational and violates equal protection. Plaintiffs and the proposed class
               22      have suffered harm to their property rights, financial harm, and harm to their
               23      goodwill on account of the County Order, and will continue to suffer such harms
               24      unless Defendants are enjoined from enforcing the County Order against them.
               25                                 SECOND CAUSE OF ACTION
               26                      (42 U.S.C. § 1983 and Ex Parte Young—Due Process)
               27            96.       All of the foregoing paragraphs are incorporated as though fully set
               28      forth herein.

ATTORNEYS AT LAW
  LOS AN GE LES                                                    31                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 32 of 40 Page ID #:32


                   1         97.    The Fourteenth Amendment to the United States Constitution forbids
                   2   Defendants from “depriv[ing] any person of life, liberty, or property, without due
                   3   process of law.” This prohibition includes a substantive component—protection
                   4   from arbitrary government action—and a procedural component—a guarantee of
                   5   appropriate process before a governmental deprivation of a protected interest. See,
                   6   e.g., Daschke v. Hartenstein, 420 F. Supp. 3d 919, 937 (D. Ariz. 2019) (citing cases).
                   7         98.    By forcing interior retailers to remain closed to the public, the County
                   8   Order deprives Plaintiffs and proposed class members of several interests protected
                   9   by due process, including, among other things, the right to use Del Amo and
               10      premises leased to interior retailers for their intended, longstanding, and otherwise
               11      lawful purpose of providing indoor shopping to the public; the right to allow public
               12      access to the Del Amo interior and the premises leased to interior retailers, including
               13      Rivas Sports and proposed class members; the right to pursue one’s chosen
               14      occupation; the right to continued business operations; rights under business
               15      licenses; and business goodwill. See, e.g., Soranno’s Gasco, Inc. v. Morgan, 874
               16      F.2d 1310, 1316-17 (9th Cir. 1989).
               17            99.    These deprivations are wholly arbitrary. The Statewide Order allows
               18      indoor malls and shopping centers to reopen, and the County Order classifies indoor
               19      malls and shopping centers as Lower-Risk Businesses, a category that is generally
               20      allowed to reopen. There is no scientific evidence showing that indoor malls and
               21      shopping centers pose any greater public health risk than businesses that the County
               22      Order allows to open, nor any rational basis for inferring such a distinction. And the
               23      County Order does not even attempt to provide any valid public health-related reason
               24      for treating indoor malls and shopping centers differently.
               25            100. The County Order also fails to afford those whose rights it compromises
               26      any process whatsoever. Before the County Order went into effect, Plaintiffs,
               27      proposed class members, and other interested members of the public had no
               28      opportunity to present data showing that indoor malls and shopping centers are safe,

ATTORNEYS AT LAW
  LOS AN GE LES                                                   32                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 33 of 40 Page ID #:33


                   1   and that the distinctions the County Order draws are irrational. Nor does the County
                   2   Order provide any post-deprivation process. Even though the County Order has no
                   3   fixed end date, and could remain effective for the foreseeable future, it provides no
                   4   process for challenging the arbitrary distinction it draws between businesses allowed
                   5   to open and those forced to stay closed. See County Order ¶ 28.
                   6         101. There is no justification for this total lack of process. The COVID-19
                   7   pandemic has persisted for months, and absent some process for challenging the
                   8   County Health Officer’s decision indoor malls and shopping centers could remain
                   9   closed indefinitely, for no valid reason. “[E]ven the war power does not remove
               10      constitutional limitations safeguarding essential liberties.” Bowles v. Willingham,
               11      321 U.S. 503, 521 (1944) (citation omitted).
               12            102. If due process were available, Plaintiffs would present scientific
               13      evidence showing that indoor malls and shopping centers present no greater public
               14      health risk than outdoor malls, other retailers, big-box stores, barbershops, hair
               15      salons, and other businesses that have been allowed to remain open or reopen.
               16            103. The continued forced closure of indoor malls and shopping centers, as
               17      well as their interior retailers, violates due process. Plaintiffs and the proposed class
               18      have suffered harm to their property rights, financial harm, and harm to their
               19      goodwill on account of the County Order, and will continue to suffer such harms
               20      unless Defendants are enjoined from enforcing the County Order against them.
               21                                 THIRD CAUSE OF ACTION
               22                                   (42 U.S.C. § 1983—Monell)
               23            104. All of the foregoing paragraphs are incorporated as though fully set
               24      forth herein.
               25            105. Pursuant to Monell v. Department of Social Services of the City of New
               26      York, 436 U.S. 658 (1978), the County and the Board are liable for damages when a
               27      County policy, custom, or practice is the moving force behind a constitutional
               28


ATTORNEYS AT LAW
  LOS AN GE LES                                                    33                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 34 of 40 Page ID #:34


                   1   violation. See, e.g., Castro v. County of Los Angeles, 833 F.3d 1060, 1073 (9th Cir.
                   2   2016) (en banc).
                   3         106. Dr. Davis, the County Health Officer, is a county officer and
                   4   policymaker authorized to issue orders on behalf of the County, to enforce those
                   5   orders, and to request the assistance of law enforcement in enforcing those orders.
                   6   See, e.g., Cal. Health & Safety Code §§ 101000, 101029, 101030, 101040. The
                   7   County Order represents an official policy, custom, or practice of the County.
                   8         107. The County Order directly causes the constitutional violations
                   9   described above. Under state law and the Statewide Order, indoor malls and
               10      shopping centers are allowed to open. The County Order—and only the County
               11      Order—requires the arbitrary, irrational, and discriminatory closure of indoor malls
               12      and shopping centers.
               13            108. The County and the Board have exhibited deliberate indifference to
               14      constitutional rights by, for example, allowing the County Health Officer to issue
               15      the County Order without the consultation directed under the terms of the County
               16      Order.
               17            109. Under Monell, the County and the Board are liable for damages
               18      resulting from the constitutional violations described above.
               19                              FOURTH CAUSE OF ACTION
               20                          (California Constitution—Article I, § 7)
               21            110. All of the foregoing paragraphs are incorporated as though fully set
               22      forth herein.
               23            111. Under article I, § 7 of the Constitution of the State of California, “[a]
               24      person may not be deprived of life, liberty, or property without due process of law
               25      or denied equal protection of the laws.”       This provision is “self-executing.”
               26      Katzberg v. Regents of the Univ. of Cal., 58 P.3d 339, 342 (Cal. 2002); see Cal.
               27      Const. art. I, § 26 (“The provisions of this Constitution are mandatory and
               28      prohibitory, unless by express words they are declared to be otherwise.”). And it is

ATTORNEYS AT LAW
  LOS AN GE LES                                                  34                    CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 35 of 40 Page ID #:35


                   1   “not dependent on [the rights] guaranteed by the United States Constitution.” Cal.
                   2   Const. art. I, § 24.
                   3          112. “California’s state equal protection guarantee . . . is broader than its
                   4   federal counterpart.” People v. Cowan, 260 Cal. Rptr. 3d 505, 536 (Ct. App. 2020)
                   5   (Streeter, J., concurring); see id. (collecting cases). The irrational closure of indoor
                   6   malls and shopping centers while other Lower-Risk Businesses are allowed to open,
                   7   which violates federal equal protection principles, necessarily also violates
                   8   California equal protection principles.
                   9          113. California’s due process guarantee is also broader than its federal
               10      counterpart, focusing on the “due process liberty interest to be free from arbitrary
               11      adjudicative procedures” and “protect[ing] a broader range of interests” than the
               12      United States Constitution. Ryan v. Cal. Interscholastic Fed’n—San Diego Section,
               13      114 Cal. Rptr. 2d 798, 814 (Ct. App. 2001). As discussed above, the County Order
               14      arbitrarily forces the closure of indoor malls and shopping centers and deprives
               15      Plaintiffs and the proposed class of, among other things, the right to use Del Amo
               16      and premises leased to interior retailers for their intended, longstanding, and
               17      otherwise lawful purpose of providing indoor shopping to the public; the right to
               18      allow public access to the Del Amo interior and the premises leased to interior
               19      retailers, including Rivas Sports and proposed class members; the right to pursue
               20      one’s chosen occupation; the right to continued business operations; rights under
               21      business licenses; and business goodwill—all without any pre- or post-deprivation
               22      process whatsoever. The County Order therefore offends California due process
               23      principles.
               24             114. The County Order violates article I, § 7 of the California Constitution.
               25      Plaintiffs and the proposed class have suffered harm to their property rights,
               26      financial harm, and harm to their goodwill on account of the County Order, and will
               27      continue to suffer such harms unless Defendants are enjoined from enforcing the
               28      County Order against them.

ATTORNEYS AT LAW
  LOS AN GE LES                                                   35                    CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 36 of 40 Page ID #:36


                   1                             FIFTH CAUSE OF ACTION
                   2       (California Constitution—Improper Delegation Of Legislative Power)
                   3         115. All of the foregoing paragraphs are incorporated as though fully set
                   4   forth herein.
                   5         116. The California Constitution prohibits State and local governmental
                   6   entities from delegating legislative power. See Kugler v. Yocum, 445 P.2d 303, 304-
                   7   05 (Cal. 1968); see id. at 305 (“[T]he doctrine prohibiting delegation of legislative
                   8   power . . . is well established in California.”). To prevent an unlawful delegation of
                   9   legislative power, a legislative body must, at a minimum, “declare a policy, fix a
               10      primary standard, and authorize executive or administrative officers to prescribe
               11      subsidiary rules and regulations that implement the policy and standard and to
               12      determine the application of the policy or standard to the facts of particular cases.”
               13      Birkenfeld v. City of Berkeley, 550 P.2d 1001, 1028 (Cal. 1976). In addition, a
               14      legislative body must “establish an effective mechanism to assure the proper
               15      implementation of its policy decisions.” Id. at 1029; see Gerawan Farming, Inc. v.
               16      Agric. Lab. Rels. Bd., 405 P.3d 1087, 1103 (Cal. 2017) (“[A] statute delegating
               17      legislative power must be accompanied by ‘safeguards adequate to prevent its
               18      abuse.’” (quoting Kugler, 445 P.2d at 306)).
               19            117. If the County Order was not an executive action subject to due process
               20      and other limitations, then it was a legislative act. But if the County Order was a
               21      legislative act, it would plainly transgress California principles regarding the
               22      delegation of legislative power.
               23            118. Dr. Davis’s authority to issue the County Order is based on California
               24      Health & Safety Code §§ 101040, 101085, and 120175. See County Order at 2.
               25      Section 101040(a) allows a health officer to “take any preventive measure that may
               26      be necessary to protect and preserve the public health from any public health hazard
               27      during any ‘state of war emergency,’ ‘state of emergency,’ or ‘local emergency,’ as
               28      defined by Section 8558 of the Government Code, within his or her jurisdiction.”

ATTORNEYS AT LAW
  LOS AN GE LES                                                  36                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 37 of 40 Page ID #:37


                   1   Section 101040(b) defines “preventive measure” broadly, meaning “abatement,
                   2   correction, removal or any other protective step that may be taken against any public
                   3   health hazard that is caused by a disaster and affects the public health.” Section
                   4   101085(a)(1) allows a health officer, during a health emergency, to require
                   5   information needed “to take any action necessary to abate the health emergency . . .
                   6   or protect the health of persons in the jurisdiction, or any area thereof, who are, or
                   7   may be affected.” Section 120175 requires a health officer who knows that a
                   8   reportable infectious disease exists within his or her jurisdiction to “take measures
                   9   as may be necessary to prevent the spread of the disease or occurrence of additional
               10      cases.”
               11            119. These statutes do not provide any articulable standard to guide a health
               12      officer’s actions. These statutes do not require a health officer to make any findings
               13      based on evidence, and they provide no standards to judge what measures are
               14      “necessary to protect and preserve the public health” and when those measures are
               15      no longer “necessary.” The statutes give health officers virtually limitless authority
               16      to take any “protective step” they deem necessary in their sole discretion.
               17            120. Moreover, the statutes provide absolutely no safeguards to prevent
               18      abuse. There is no requirement that the health officer periodically review his or her
               19      orders, and there is no statutory process to challenge a health officer’s order. Even
               20      if the lack of safeguards were defensible during short-term health emergencies, it is
               21      completely indefensible during a global pandemic that has already lasted months and
               22      may persist for many more. The authority of the unelected health officer to regulate
               23      conduct for an indefinite period of time cannot go unchecked. Cf. Birkenfeld, 550
               24      P.2d at 1029-30 (charter amendment invalid because it effectively prevented rent
               25      control board from adjusting rents, “making inevitable the arbitrary imposition of
               26      unreasonably low rent ceilings” for an “indefinite period”).
               27            121. The concerns underlying the nondelegation principle are on full display
               28      here. The County Order provides no reason why it is “necessary to protect and

ATTORNEYS AT LAW
  LOS AN GE LES                                                  37                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 38 of 40 Page ID #:38


                   1   preserve the public health” to force indoor malls and shopping centers to stay closed
                   2   when other retail businesses may open. Nor is there in fact any valid public health
                   3   reason to force indoor malls and shopping centers to remain closed. Yet Dr. Davis’s
                   4   decision to force them to stay closed is effective indefinitely, County Order ¶ 28,
                   5   and is not subject to administrative review.
                   6            122. The statutory delegation of legislative power to health officers is
                   7   invalid, on its face and as applied to the County Order. As a result, the County Order,
                   8   issued pursuant to California Health & Safety Code §§ 101040, 101085, and 120175,
                   9   is ultra vires and cannot be enforced. Plaintiffs and the proposed class have suffered
               10      harm to their property rights, financial harm, and harm to their goodwill on account
               11      of the County Order, and will continue to suffer such harms unless Defendants are
               12      enjoined from enforcing the County Order against them.
               13                                     PRAYER FOR RELIEF
               14               WHEREFORE, Rivas Sports, on behalf of itself and the proposed class, and
               15      the other Plaintiffs pray for the following relief:
               16               1.    Certification of this action as a class action under Federal Rule of Civil
               17      Procedure 23(a), (b)(1)(A), (b)(2), and (b)(3), appointment of Rivas Sports as class
               18      representative, and appointment of Latham & Watkins LLP as class counsel;
               19               2.    Judgment in favor of Plaintiffs and the proposed class and against
               20      Defendants on all causes of action alleged herein;
               21               3.    General, special, compensatory, and incidental damages according to
               22      proof;
               23               4.    A declaration that the County Order is invalid for one or more of the
               24      reasons alleged herein;
               25               5.    Injunctive relief preventing the County Order from being enforced
               26      against Plaintiffs and the proposed class;
               27               6.    Any and all other equitable relief, including preliminary and permanent
               28      injunctive relief, that the Court deems appropriate;

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  LOS AN GE LES                                                     38                   CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 39 of 40 Page ID #:39


                   1         7.    An award to Plaintiffs for costs, expenses, and reasonable attorneys’
                   2   fees as permitted by law; and
                   3         8.    An award of such other and further relief as the Court deems just and
                   4   proper.
                   5   Dated: September 10, 2020           LATHAM & WATKINS LLP
                                                             Michael G. Romey
                   6                                         Richard P. Bress
                   7
                                                             Andrew D. Prins
                                                             Sarah F. Mitchell
                   8                                         Eric J. Konopka

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               10                                          By /s/ Michael G. Romey
                                                             Michael G. Romey
               11                                            Attorneys for Plaintiffs and the Proposed
                                                             Class
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  LOS AN GE LES                                               39                  CLASS ACTION COMPLAINT
       Case 2:20-cv-08312-JWH-PVC Document 1 Filed 09/10/20 Page 40 of 40 Page ID #:40


                   1                           DEMAND FOR JURY TRIAL
                   2        Plaintiffs hereby demand a trial by jury on all issues so triable.
                   3   Dated: September 10, 2020             LATHAM & WATKINS LLP
                                                               Michael G. Romey
                   4                                           Richard P. Bress
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                                                               Andrew D. Prins
                                                               Sarah F. Mitchell
                   6                                           Eric J. Konopka

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                   8                                         By /s/ Michael G. Romey
                                                               Michael G. Romey
                   9                                           Attorneys for Plaintiffs and the Proposed
                                                               Class
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  LOS AN GE LES                                                 40                    CLASS ACTION COMPLAINT
